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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :

           v.                                 :    Case No. 1:21-cr-00572-CRC

JOSHUA DRESEEL                                :



                  GOVERNMENT’S NOTICE OF FILING OF EXHIBITS
                     PURUSANT TO LOCAL CRIMINAL RULE 49

       The United States of America, through the undersigned, hereby gives this notice pursuant

to Local Criminal Rule 49, of the following exhibit that was provided to the Court and defense

counsel on March 16, 2023 via USAfx, in relation its sentencing memorandum (ECF No. 32).

This exhibit will be offered into evidence during the sentencing hearing scheduled for March 21,

2023. Because the exhibit is a video clip, the exhibit is not in a format that readily permits

electronic filing on CM/ECF.

       Government Exhibit 1 is a clip from a video filmed on the West Plaza of the U.S. Capitol

building. The clip is approximately 2 minutes and 13 seconds long. The event depicted in the

exhibit occurred between approximately 1:00 p.m. EST and 2:00 p.m. EST on January 6, 2021.

Mr. Dressel is featured in the video from :22 to :32 seconds; :53 to :59 seconds; and 1:26 to 1:37

seconds. This exhibit was previously disclosed to Mr. Dressel and his counsel.

       If the Court accepts this proposed exhibit into evidence on February 10, 2023, the United

States takes the position that this exhibit should be promptly released to the public.
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                           Respectfully submitted,

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